Case 1:18-md-02865-LAK   Document 240-2   Filed 12/06/19   Page 1 of 9




                 EXHIBIT B
Case 1:18-md-02865-LAK   Document 240-2   Filed 12/06/19   Page 2 of 9
Case 1:18-md-02865-LAK   Document 240-2   Filed 12/06/19   Page 3 of 9
Case 1:18-md-02865-LAK   Document 240-2   Filed 12/06/19   Page 4 of 9
Case 1:18-md-02865-LAK   Document 240-2   Filed 12/06/19   Page 5 of 9
Case 1:18-md-02865-LAK   Document 240-2   Filed 12/06/19   Page 6 of 9
Case 1:18-md-02865-LAK   Document 240-2   Filed 12/06/19   Page 7 of 9
Case 1:18-md-02865-LAK   Document 240-2   Filed 12/06/19   Page 8 of 9
Case 1:18-md-02865-LAK   Document 240-2   Filed 12/06/19   Page 9 of 9
